                                         Case 4:13-md-02420-YGR Document 743 Filed 07/21/15 Page 1 of 1




                                   1                                 UNITED STATES DISTRICT COURT

                                   2                                NORTHERN DISTRICT OF CALIFORNIA

                                   3
                                        DELL INC., et al.,
                                   4                                                      Case No. 15-cv-02987-VC
                                                      Plaintiffs,
                                   5
                                                v.                                        REFERRAL FOR PURPOSE OF
                                   6                                                      DETERMINING RELATIONSHIP
                                        LG CHEM, LTD, et al.,
                                   7
                                                      Defendants.
                                   8

                                   9

                                  10          Pursuant to Civil Local Rule 3-12(c), the above-entitled case is hereby referred to Judge

                                  11   Gonzalez Rogers for consideration whether the case is related to In Re Lithium Ion Batteries

                                  12   Antitrust Litigation, Case No. 4:13-md-02420.
Northern District of California
 United States District Court




                                  13

                                  14          IT IS SO ORDERED.

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                                  16   Dated: July 21, 2015

                                  17                                                   ______________________________________
                                                                                       VINCE CHHABRIA
                                  18                                                   United States District Judge

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